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UNITED sTATEs I)ISTRICT COURT arising .._, /mil?y s.
WESTERN DISTRICT OF TENNESSEE
Western Division 135 blle 26 P’i"l lt= 22

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UNITED STATES OF AMERICA ll

   

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-v- ease No. 2:02cr20323-01-Ma’;§
MG'

TARIO GRAHAM

 

ORDER SETT|NG
COND|TIONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case
(2) The defendant shall immediately advise the court, Pretrial Services Offlce, Probation Office, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed The defendant shall next appear as directed by the Court.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions
0 Report as directed by the Probation Office.

0 Other: Defendant shall abide by all conditions of supervised release previously imposed..

ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

This document entered on the docket heat in compliance
Ao1ssA order setting conditions oraeiease -l- With Hu|e 55 and/m 32(|3} FHCH:, cm ii .¢ §§ g.,QS

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The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanorl This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a 5250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
inforniant; or to intimidate or attempt to intimidate a witness, victim1 juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life impiisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than 3250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A tenn of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge thatI am the defendant in this case and that l am aware of the conditions of release l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. Iam aware

of the penalties and sanctions set forth above. / _ /
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,4/ Signature ofljefendant

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Tario Graham

2714 Kimball Avenue
Memphis, TN 38114
(901) 743-7093

DlRECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Officer that the defendant has posted bond and/or complied with all other conditions for release The
defendant shall be produced before the appropriate judicial officer at the time and place specified1 if still in
custody.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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AU 199A Order Settrng Condi`iions ot Release -2-

  
 

ENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
case 2:02-CR-20323 Was distributed by faX, mail, or direct printing on
.luly 28, 2005 to the parties listed

 

 

PDA

FEDERAL PUBLIC DEFENDER
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Ste. 200

l\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

